Case 1:17-cr-00101-LEK Document 460 Filed 04/10/19 Page 1 of 2   PageID #: 3974




   LARS ROBERT ISAACSON
   Hawaii Bar #5314
   1100 Alakea Street, 20th Floor
   Honolulu, Hawai’i 96813
   Phone: 808-497-3811
   Fax: 866-616-2132
   Standby Attorney for Defendant ANTHONY T. WILLIAMS

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       DEFENDANT’S NINTH
          Plaintiff,                   MOTION FOR ORDER TO
                                       SHOW CAUSE;
         v.                            DECLARATION OF COUNSEL;
                                       EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE
   ANTHONY T. WILLIAMS,

          Defendant.


       DEFENDANT’S NINTH MOTION FOR ORDER TO SHOW
                         CAUSE

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides Defendant’s NINTH MOTION FOR ORDER TO SHOW

   CAUSE; attached as Exhibit “A,” and Declaration of Counsel.
Case 1:17-cr-00101-LEK Document 460 Filed 04/10/19 Page 2 of 2   PageID #: 3975




      Dated: April 10, 2019



                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
